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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                       *
                                               *
                      Plaintiff,               *
                                               *
vs.                                            *
                                               *             No.4:10-CR-00015-SWW
JOHN WESLEY SHAVER                             *
WILLIAM CONDRA, and                            *
TRAVIS BLANSETT                                *
                                               *
                      Defendants.



                                           ORDER

       Pending is the United States' Motion to Issue Summons and Unseal the Indictment.

Based upon the United States' Motion, the case is ordered to be unsealed. Furthermore, while

the arrest warrant for Defendant Shaver has already been served, the outstanding warrants for

Defendants Condra and Blansett are ordered withdrawn and a summons shall be issued for their

appearance at the regularly scheduled Plea and Arraignment set in March.

       IT IS SO ORDERED this 18th day of February, 2010.




                                                               LPE
                                                               TATES MAGISTRATE JUDGE
